Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 1 of 10




             EXHIBIT S
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 2 of 10


                                                                   Page 1
                                Volume: I
                                Pages: 1 To 156
                                Exhibits: See Index
                  UNITED STATES DISTRICT COURT
                For the District of Massachusetts
               Civil Action No. 1:19-CV-11605-WGY

                                                   )
     GIGI KAI ZI CHAN,                             )
                   Plaintiff,                      )
                                                   )
               vs.                                 )
                                                   )
     WELLINGTON MANAGEMENT COMPANY LLP             )
     and CHARLES ARGYLE,                           )
                   Defendants.                     )
                                                   )

                     ZOOM VIDEO DEPOSITION OF HENRY
          PHILIP, a witness called on behalf of the
          Plaintiff, taken pursuant to the Federal Rules
          of Civil Procedure, before Susan E. DiFraia,
          Certified Shorthand Reporter and Notary Public
          in and for the Commonwealth of Massachusetts,
          via Zoom Video, on October 14, 2020, commencing
          at 10:00 a.m.
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 3 of 10


                                                                   Page 2
 1        APPEARANCES:
 2        HARTLEY MICHON ROBB
          155 Seaport Blvd
 3        Boston, MA 02210
          BY:   Patrick J. Hannon, Esquire
 4        Tel: 617.447.2819
          E-Mail:    Phannon@hartley@michonrobb.com
 5        Attorney for the Plaintiff.
 6
 7        JACKSON LEWIS
          75 Park Plaza
 8        Boston, MA 02116
          BY:   Stephen T. Paterniti, Esquire
 9        Tel: 617.367.0025
          E-Mail:    Spaterniti@jacksonlewis.com
10        Attorney for the Defendants.
11
12
13
                              * * * * *
14
15
16
17
18
19
20
21
22
23
24
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 4 of 10


                                                                    Page 3
 1
                           E X A M I N A T I O N S
 2
 3
     Witness                                                        Page
 4   HENRY PHILIP
     DIRECT EXAMINATION            BY MR. HANNON                           4
 5   CROSS EXAMINATION             BY MR. PATERNITI                       149
 6
 7                             E X H I B I T S
 8   Exhibit                       Description                     Page
      1                            E-mail to Argyle                94
 9    2                            E-mail to Baxter                107
      3                            E-mail to Karen Tang            108
10    4                            E-mail to Argyle, Baxter        127
                                   & Puritz
11    5                            E-mail chain                    133
      6                            E-mail from Argyle              138
12    7                            E-mail chain                    139
      8                            E-mail                          142
13    9                            Document                        146
14
15
16
17
18
19
20
21
22
23
24
25
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 5 of 10


                                                                   Page 4
 1                      P R O C E E D I N G S

 2

 3                          HENRY PHILIP

 4        a witness called for examination by counsel for

 5        the Plaintiff, having been first duly sworn by

 6        the Notary Public, was examined and testified

 7        as follows:

 8                       DIRECT EXAMINATION

 9             BY MR. HANNON:

10   Q.   Good morning, Mr. Philip.         My name is Patrick

11        Hannon, and I represent Gigi Kai Zi Chan in

12        this matter.

13                Have you ever had the pleasure of

14        sitting for a deposition before?

15   A.   I have not.     This is my first time.

16   Q.   Okay.   You are in for a treat.         So just to kind

17        of cover the process.       Since everything that

18        you and I say is taken down by the

19        stenographer, it's important for you and I not

20        to be speaking at the same time.          So if you

21        would wait for me to be done talking before you

22        answer, that would be helpful, okay?

23   A.   Yes, understood.

24   Q.   And you, for similar reasons, it's important
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 6 of 10


                                                                   Page 5
 1        that all of your answers be spoken, so if at

 2        some point in time you forget and you nod your

 3        head or shake your head in response, I'll just

 4        prompt you to actually say your answer; is that

 5        fair?

 6   A.   Yes, very fair, thank you.

 7   Q.   Good.

 8                  Mr. Philip, where are you physically

 9        located today?

10   A.   I'm physically located in 75 Park Plaza,

11        Boston.

12   Q.   And is that your office or someone else's

13        office?

14   A.   It's the Jackson Lewis office.

15   Q.   Okay.     And there in the room -- is anyone there

16        in the room with you today?

17   A.   Yes, we have Steve Paterniti and Sara Martin.

18   Q.   Okay.     And what did you do to prepare for your

19        deposition today?

20                  MR. HANNON:    I'm going to instruct you

21                  to go ahead and answer that but not

22                  reveal any communications you had with

23                  counsel.

24   A.   So we had two preparation sessions with our
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 7 of 10


                                                                   Page 104
 1        off site itself is down in Newport, but a lot

 2        of people come for an extended period of time,

 3        so I was there for a couple of weeks at least.

 4   Q.   And this meeting with Mr. Argyle, Mr. Matiko

 5        and yourself and maybe Mr. Puritz, how long did

 6        it last for?

 7   A.   I can't remember definitively; probably half an

 8        hour.

 9   Q.   Was this inside Wellington's office in Boston?

10   A.   Yes.

11   Q.   Was this in a conference room or somebody's

12        office?

13   A.   I think it was Charles Argyle's office.

14   Q.   And did you bring any materials to that meeting

15        with you?

16   A.   Not that I can recall.

17   Q.   During the course of that meeting did anyone

18        show you anything they reviewed?

19   A.   Not that I can recall.

20   Q.   Did you take any notes of that meeting?

21   A.   No.

22   Q.   Tell me everything that you can recall about

23        that meeting.

24   A.   The broad discussion was as to whether -- what
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 8 of 10


                                                                   Page 105
 1        next steps we should take with Gigi.           I can't

 2        remember specifics of the conversation other

 3        than the conclusion that I think we came to

 4        during the course of the conversation.

 5   Q.   So you can recall the conclusion that you came

 6        to?

 7   A.   I think we had agreed that we would move to

 8        terminate Gigi's employment with Wellington

 9        Management, Hong Kong.

10   Q.   Besides recalling that being the conclusion of

11        the conversation, do you recall anything else

12        about what was said during the course of that

13        discussion?

14   A.   Not specifically or even generally.

15   Q.   Did you believe you had the authority to

16        terminate Ms. Chan's employment without Mr.

17        Argyle's approval?

18   A.   I think it would be entirely inappropriate for

19        me to make that decision without Charles'

20        approval.

21   Q.   Why is that?

22   A.   Because ultimately that decision would not rest

23        with the associate director of equities, it

24        would be with the overall head of function.
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 9 of 10


                                                                   Page 106
 1   Q.   And the overall head of function -- of

 2        Ms. Chan's function, that would be Charles

 3        Argyle?

 4   A.   Correct.

 5   Q.   So after that meeting, am I right that

 6        Ms. Chan's employment was not immediately

 7        terminated?

 8   A.   She was not immediately terminated.

 9   Q.   And in fact, it wasn't until several months

10        later that she was terminated --

11                  MR. PATERNITI:    Objection.      Go ahead.

12   A.   Correct.

13   Q.   (By Mr. Hannon)      -- is that right?

14                  Why the delay?

15   A.   Self factors came into play there:           Travel

16        plans, for one, meaning that I was away for a

17        significant part of June and July.           Ms. Chan

18        was then away for vacation for the majority of

19        August, and we always want to be humanistic in

20        these endeavors and try and have these

21        conversations why -- in person and we were

22        trying to find a time that was appropriate and

23        in the best way possible for us to be able to

24        have that dialogue with her in person, as I
Case 1:19-cv-11605-WGY Document 68-8 Filed 04/01/21 Page 10 of 10


                                                                Page 107
 1        mentioned, and that would only really present

 2        itself as an option in September.

 3                 MR. PATERNITI:      Patrick, can I get

 4                 access.    Is there a way for me to have

 5                 control of a copy of the document?

 6                 MR. HANNON:     This is a pretty simple

 7                 one.   As we get to a longer one I'll

 8                 send you a copy.      Does that sound fair?

 9                 MR. PATERNITI:      Sure.    Yes, that's fine

10                 for the first two.

11   Q.   (By Mr. Hannon)      Sure.    So Mr. Philip, I'm

12        showing you a Bates stamp document, DEF,

13        00002639 which we'll mark as Exhibit 2 here

14        today.     And my question, whenever you're ready,

15        is if you recognize it?

16                 (Document marked as Philip

17                 Exhibit 2 for identification)

18   A.   Yes, I do.

19   Q.   And what do you recognize it to be?

20   A.   An e-mail from me to Tom Baxter.

21   Q.   And you see here in this e-mail you're asking

22        him to send all of his midyear and year-end

23        correspondence to Ms. Chan?

24   A.   Correct.
